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                       Attorneys for Joseph Allaham
                   9
                 10                         UNITED STATES DISTRICT COURT
                 11           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                 12

                 13    BROIDY CAPITAL                          CASE NO. 2:18-CV-02421-JFW-E
                       MANAGEMENT LLC, ELLIOTT
                 14    BROIDY, and ROBIN
                       ROSENZWEIG,
                 15                                            NOTICE OF MOTION AND
                                      Plaintiffs,              MOTION TO QUASH PLAINTIFFS’
                 16                                            SUBPOENA FOR PRODUCTION OF
                            v.                                 DOCUMENTS FROM JOSEPH
                 17                                            ALLAHAM
                       STATE OF QATAR,
                 18    STONINGTON STRATEGIES                   [Memorandum of Points and
                       LLC, NICHOLAS D. MUZIN, and             Authorities, Declaration of Meera
                 19    DOES 1-10,                              Chandramouli and [Proposed] Order
                                                               Filed Concurrently Herewith]
                 20                   Defendants.
                 21                                            Date: July 13, 2018
                                                               Time: 9:30 a.m.
                 22                                            Courtroom: 750
                 23                                            Judge:         John F. Walter
                                                               Magistrate:    Charles F. Eick
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A RENT F OX LLP
ATTORNEYS AT LAW          NOTICE OF MOTION AND MOTION TO QUASH PLAINTIFFS’ SUBPOENA FOR PRODUCTION OF
  LOS A NGELES
                                               DOCUMENTS FROM JOSEPH ALLAHAM
             Case 2:18-cv-02421-JFW-E Document 53 Filed 06/01/18 Page 2 of 2 Page ID #:609



                   1         PLEASE TAKE NOTICE that on July 13, 2018, at 9:30 a.m., or as soon
                   2   thereafter as the matter may be heard before the Honorable Charles F. Eick in
                   3   Courtroom 750 of the above-entitled Court, located at the Roybal Federal Building
                   4   and United States Courthouse, 255 East Temple Street, Los Angeles, CA, 90012,
                   5   Courtroom 750, 7th Floor, Joseph Allaham (Allaham) will and does move for an
                   6   Order to quash Plaintiffs’ Subpoena for Production of Documents from Joseph
                   7   Allaham.
                   8         Allaham bases this motion on this Notice of Motion and Motion; the
                   9   Memorandum of Points and Authorities; the Declaration of Meera Chandramouli;
                 10    and such other evidence and/or argument as may be presented to this Court at the
                 11    hearing on this Motion.
                 12          Pursuant to Local Rule 37-1, Mr. Allaham makes this Motion after a
                 13    conference of counsel that occurred on Tuesday, May 29, 2018. Pursuant to Local
                 14    Rule 37-2, a Joint Statement will be filed concurrently with this Motion.
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                       Dated:      June 1, 2018                ARENT FOX LLP
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                                                            By:/s/ Allan E. Anderson
                 20                                           ALLAN E. ANDERSON
                                                              CRAIG ENGLE
                 21                                           Attorneys for JOSEPH ALLAHAM
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A RENT F OX LLP                                                -2-
ATTORNEYS AT LAW          NOTICE OF MOTION AND MOTION TO QUASH PLAINTIFFS’ SUBPOENA FOR PRODUCTION OF
  LOS A NGELES
                                      DOCUMENTS FROM JOSEPH ALLAHAM (2:18-CV-02421-JFW-E)
